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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-22974-CIV-MORENO
DIANE FISHER,

Plaintiff,

VS.

PNC BANK N.A., and PNC INVESTMENTS,
LLC,

Defendants.
/

 

ORDER DENYING MOTION TO CONSOLIDATE AND
ORDER GRANTING IN PART AND DENYING IN PART MOTION FOR
CLARIFICATION, RECONSIDERATION, AND EXTENSION OF TIME
THIS CAUSE came before the Court upon the Defendant’s Motion to Consolidate (D.E.
9), filed on October 9, 2018, and the Plaintiff's Motion for Clarification, Reconsideration and
Extension of Time (D.E. 13), filed on October 23, 2018.
THE COURT has considered the motions, the pertinent portions of the record, and being
otherwise fully advised in the premises, it is
ADJUDGED that
(1) The Defendant’s Motion to Consolidate (D.E. 9) is DENIED, and
(2) The Plaintiff's Motion for Clarification, Reconsideration and Extension of Time
(D.E. 13) is GRANTED IN PART AND DENIED IN PART such that:
(a) The Parties are no longer required to file a Joint Scheduling Report pursuant to
(D.E. 11), and thus the Motion for Extension is DENIED as MOOT;

(b) The Plaintiff is GRANTED leave to amend its complaint such that Rose Charlap,

through her estate or personal representative, may join her claims as a plaintiff;
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(c) The Plaintiff's deadline to respond to the Defendant’s Motion to Dismiss (D.E. 8)
is STAYED until November 16, 2018, which is also the deadline for Plaintiff to
amend her complaint; and

(d) Should the Plaintiff forgo amending the complaint to join Rose Charlap by the
aforementioned deadline, the Plaintiff must respond to the Defendant’s pending

Motion to Dismiss (D.E. 8) no later than November 16, 2018.

DONE AND ORDERED in Chambers at Miami, Florida, this 2 of November
2018.

    
 

FEDERICO 44
UNITED STATE

  

ISTRICT JUDGE
Copies furnished to:

Counsel of Record
